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                         Netflix, Inc., and
                       8 Netflix Worldwide Entertainment, LLC
                       9
                                            UNITED STATES DISTRICT COURT
                  10
                                          CENTRAL DISTRICT OF CALIFORNIA
                  11
                  12       FIONA HARVEY,                        Case No. 2:24-cv-04744-RGK-AJR
                  13
                                        Plaintiff,              DEFENDANTS’ REPLY IN FURTHER
                  14                                            SUPPORT OF MOTION TO DISMISS
                                v.                              COMPLAINT
                  15
                           NETFLIX, INC., and NETFLIX           Date:      September 16, 2024
                  16       WORLDWIDE ENTERTAINMENT,             Time:      9:00 a.m.
                           LLC,                                 Place:     Courtroom 850
                  17
                                        Defendants.             Hon. R. Gary Klausner
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                                                                                  Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                    DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                               MOTION TO DISMISS COMPLAINT
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                       1 I.     INTRODUCTION.
                       2        Harvey’s opposition is an exercise in avoidance, obfuscation, and distortion.
                       3 Replete with hyperbolic and inflammatory rhetoric,1 it tellingly lacks any actual
                       4 substance. In fact, Harvey does not even bother to respond to many of Netflix’s
                       5 arguments and has thus waived any response. She entirely ignores Netflix’s on-
                       6 point authority, relies on inapposite caselaw, and attempts to resuscitate her
                       7 defective pleading with non-judicially noticeable “facts” contained nowhere in her
                       8 Complaint.2 Harvey cannot now rely on “facts” outside her Complaint to introduce
                       9 allegations she never pled. Netflix’s motion to dismiss must be determined on the
                  10 actual allegations in Harvey’s Complaint and the Series,3 which is incorporated by
                  11 reference. Both plainly demonstrate that Harvey’s claims are insufficiently pled.
                  12            Harvey’s Complaint concedes that the Series contains dramatic scenes and
                  13 content created to make the story emotionally compelling, and the portrayal of the
                  14 Martha character is entirely “fabricated.” In other words, Harvey acknowledges it
                  15 is a fictional story. Despite this, she remarkably alleges that viewers would know
                  16 the Martha character is her because of one tweet, one episode where the fictional
                  17 narrator Donny explains this is his “true story,” and one reference to a similar line
                  18 on a website.         Given the fictional Series’ context, including disclaimers and
                  19 cinematic elements, that is hardly sufficient to state any claim against Netflix—and
                  20 certainly not one for defamation. The Series is plainly not of and concerning
                  21 Harvey. And contrary to Harvey’s misplaced assertions, the passage of time did not
                  22
                     1
                       Harvey’s opposition takes many liberties in describing the Series. As just one
                  23 example,   she repeatedly claims the Series depicts the Martha character “raping” the
                     Donny    character   and asserts she has thus been called a rapist. This scene could
                  24 certainly be interpreted   differently. See Ep. 2 at 20:50. Harvey’s liberties only
                  25 as true if they are contradictedwatch
                     reinforce  that this Court must        the Series, as her allegations cannot be accepted
                                                       by the Series. See Gonzalez v. Planned Parenthood
                  26 of Los Angeles, 759 F.3d 1112, 1115 (9th Cir. 2014).
                     2
                       See Defendants’ Opposition to Plaintiff’s Request for Judicial Notice in Opposition
                  27 to Defendants’ Motion to Dismiss requesting the Court deny judicial notice.
                     3
                       Capitalized terms not defined herein have meaning ascribed to them in Netflix’s
                  28 Motion   to Dismiss.
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                       1 somehow restore her reputation such that she is no longer libel-proof. Nor has the
                       2 passage of time converted her from a public figure to a private one. She simply fails
                       3 to sufficiently allege a defamation claim.
                       4         Harvey’s other claims are mere surplusage and should be dismissed outright.
                       5 They also independently fail. Her IIED claim fails because the alleged conduct is
                       6 not outrageous.      And she cannot simply repackage her defamation claim as
                       7 negligence. She must actually allege the elements of a negligence claim. She
                       8 entirely fails to do so. Last, her right of publicity claims also fail because the Series
                       9 is an expressive work protected by the First Amendment. And Harvey’s inapposite
                  10 authority cannot change that she failed to plausibly allege that Netflix somehow used
                  11 her identity to its advantage commercially or otherwise.
                  12             All of Harvey’s claims thus should be dismissed for these pleading
                  13 deficiencies. That said, Netflix’s concurrently filed Motion to Strike seeks to strike
                  14 the Complaint in its entirety because it is barred by the anti-SLAPP statute. For
                  15 judicial economy, Netflix again respectfully requests that the Court first determine
                  16 the merits of that Motion to Strike, turning to Netflix’s Motion to Dismiss only as
                  17 necessary to determine the sufficiency of any claim that might somehow remain.
                  18 II.         HARVEY’S CLAIMS SHOULD BE DISMISSED.
                  19             A.     Harvey’s Defamation Claim Fails.
                  20                    1.    Harvey Fails to Allege a Provably False Statement of Fact.
                  21             Harvey’s opposition asserts the unremarkable position that a fictional work
                  22 can be defamatory. Opp. at 5-6.4 That is legally true, but substantively misses the
                  23 mark. Harvey fails to meaningfully address that each alleged defamatory statement
                  24 is presented in the context of a fictional Series with cinematic and dramatic elements
                  25 that are more fantastical than realistic. And thus, she fails to adequately allege that
                  26
                     4
                       Harvey’s attempt to rely on statements to Parliament is barred because they are
                  27 absolutely  privileged under California Civil Code section 47(b). Harvey does not
                     respond  to that argument (see Mot. at 9 n.4; see also generally Opp.) and therefore
                  28 waives it. Yagman   v. Wunderlich, 2021 WL 6804219, at *2 (C.D. Cal. Oct. 4, 2021).
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                       1 the Series makes any provably false statements of fact “of and concerning” her. The
                       2 broad similarities Harvey alleges exist between her and the Martha character are
                       3 insufficient. See Mot. at 7-8.5 So too are her allegations that she received hate mail
                       4 and death threats, which in reality often simply asked whether she might be the
                       5 inspiration for the Martha character, Compl. ¶ 37; Opp. at 5, because she does not
                       6 allege they were the understandings of reasonable viewers. Her attempts to rely on
                       7 the Series’ fictional narrator relaying “this is a true story” and a website’s use of this
                       8 phrase in an article (Opp. at 5) are likewise insufficient, as she entirely ignores that
                       9 the fictional character Donny relayed those words, and incorrectly assumes
                  10 reasonable viewers cannot use other cues to properly consider the content presented
                  11 in a fictional series.          Yet longstanding legal precedent—and Harvey’s own
                  12 authority—recognizes they can. See, e.g., Partington v. Bugliosi, 56 F.3d 1147,
                  13 1155 (9th Cir. 1995) (Opp. at 6). Her intentional dismissal of the Series’ fictional
                  14 context is highlighted by her characterization of Martha as doing things to Gadd,
                  15 which ignores that Gadd is merely an actor playing the fictional character Donny;
                  16 Martha is doing things to Donny, not Gadd. See Opp. at 2.
                  17             She also attempts to downplay the legal significance of the Series’ disclaimers
                  18 by arguing that the user has to click “Watch Credits” to view them. That allegation
                  19 is not in her Complaint, and she does not otherwise ask the Court to take judicial
                  20 notice of it. Opp. at 6-7. It must be disregarded. Regardless, she cites no authority
                  21 that such a transition would be relevant. Id. Nor does she cite any authority for her
                  22 assertion that the disclaimers are defective because they appear “halfway through
                  23 the credits.”6 Opp. at 6-7. In fact, Harvey does not actually challenge the wording
                  24      5
                       The Opposition (at 4-5) also mischaracterizes the allegations in the Complaint,
                  25 which do not allege an “identical personal history” and messages. Compl. ¶¶ 40-41.
                     6
                       Harvey’s reliance on Gaprindashvili v. Netflix, Inc., 2022 WL 363537, *6 (C.D.
                  26 Cal. Jan. 27, 2022), Fairstein v. Netflix, Inc., 553 F.Supp.3d 48, 59 (S.D.N.Y. 2021),
                     and  Muzikowski v. Paramount Pictures Corp., 322 F.3d 918 (7th Cir. 2003) is
                  27 unavailing,  as they either have no analysis of the disclaimers and/or involved works
                  28 plaintiff’s realsuggested
                     that strongly
                                      name.
                                               they were portraying the real plaintiff, including by using
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                       1 of the disclaimers or their appearance in each episode. Given this fatal failure,
                       2 among others, she does not sufficiently allege that a reasonable viewer could
                       3 somehow believe the Series makes any provable false statement about her.
                       4               2.    The Alleged Defamatory Statements Are Not Actionable.
                       5        The alleged statements are also non-actionable opinion. Harvey completely
                       6 ignores Netflix’s authority demonstrating that the First Amendment shields Gadd’s
                       7 personal descriptions of events in his own life, retold in a fictionalized, dramatic
                       8 memoir. See, e.g., Partington, 56 F.3d at 1154; Ferlauto v. Hamsher, 74 Cal. App.
                       9 4th 1394, 1401-03 (1999); Underwager v. Channel 9 Australia, 69 F.3d 361, 367
                  10 (9th Cir. 1995). The cases Harvey cites are inapposite. Opp. at 7-8. They do not
                  11 involve statements made in the context of a dramatic, fictionalized work portraying
                  12 traumatic events from an artist’s life.
                  13                   3.    Harvey Is Libel-Proof.
                  14            Harvey does not dispute that the public record contains accusations of her
                  15 reprehensible conduct. Putnam Decl., Exs. B, C, G.7 While she states she never
                  16 committed a crime, all that is required is “anti-social or criminal behavior.” Wynberg
                  17 v. Nat’l Enquirer, Inc., 564 F. Supp. 924, 928 (C.D. Cal. 1982).8 Moreover, it is
                  18 irrelevant that the articles detailing her behavior were published more than twenty
                  19 years ago in Scotland because the challenged communication relates to her past
                  20 conduct.        See, e.g., Lamb v. Rizzo, 391 F.3d 1133, 1139 (10th Cir. 2004)
                  21 (communication related to past conduct and does not matter it happened 31 years
                  22 ago). Her suggestion that no one has seen the articles in 20 years is belied by her
                  23 own allegations that they were referenced in the Series. Compl. ¶ 41. This claim is
                  24 also particularly dubious given the articles’ current public availability. Putnam Decl.
                  25
                  26   Harvey’s assertion that these judicially noticeable facts cannot be considered is
                           7
                     wrong. See Request for Judicial Notice (“RJN”) in Support of Motion to Dismiss
                  27 (“MTD”); Reply in Support of RJN in Support of MTD.
                     8
                       Cardillo v. Doubleday & Co., Inc., 518 F.2d 638, 639 (2d Cir. 1975) (Opp. at 8)
                  28 does not state that one must be a criminal to qualify as libel-proof.
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                       1 ¶¶ 4, 5, 9. And the fact that one article uses her maiden name ignores that another
                       2 discusses that same conduct and uses her current name. Putnam Decl., Exs. B, C.
                       3 Harvey provides no authority for the fantastical proposition that her failed attempt
                       4 to hide her reputation through a name change somehow affects the applicability of
                       5 the libel-proof doctrine to her defamation claim.
                       6               4.     Harvey Failed to Allege Netflix Acted with Actual Malice.
                       7         Contrary to Harvey’s assertion, she has been, is, and remains a public figure.
                       8 Again, the passage of time is irrelevant. See, e.g., St. v. Nat’l Broad. Co., 645 F.2d
                       9 1227, 1235 (6th Cir. 1981) (once person becomes public figure in connection with
                  10 particular controversy, she remains one for purposes of later commentary on that
                  11 controversy).9 Further, Harvey was not merely a passive participant—she publicly
                  12 denied she was a stalker and attempted to influence public opinion on the
                  13 controversy. Putnam Decl., Ex. B.10 And Harvey’s stalking had ramifications on
                  14 non-participants, including Wray’s disabled child and Scottish citizenry given her
                  15 targets were a member of Parliament and First Minister of Scotland. Her prior denial
                  16 of stalking directly contradicts the alleged defamatory statements, which is all that
                  17 is required to show they are germane to the public controversy. See Ampex Corp. v.
                  18 Cargle, 128 Cal. App. 4th 1569, 1578 (2005).
                  19             Harvey is thus a public figure and required to allege actual malice. She plainly
                  20 did not. Her unrelated allegations concerning statements to Parliament, Gadd’s
                  21 purported unreliability, and the use of “true story” do not constitute allegations of
                  22 actual malice. Again, Harvey cannot rely on the statements to Parliament because
                  23 they are absolutely privileged under California Civil Code section 47(b), and she
                  24 waived the issue. See supra at 4 n. 4. In any event, the Supreme Court has made
                  25
                  26    Harvey’s reliance on Briscoe v. Reader’s Digest Association Inc., 4 Cal.3d 529
                           9
                     (1971) is misplaced; it was overruled by Gates v. Discovery Comm’ns, Inc., 34 Cal.
                  27 4th 679 (2004).
                     10
                        Wolston v. Reader’s Digest Ass’n, Inc., 443 U.S. 157 (1979) is therefore inapposite
                  28 because  the plaintiff there was merely a passive participant.
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                       1 clear that “failure to investigate before publishing, even when a reasonably prudent
                       2 person would have done so, is not sufficient to establish reckless disregard.” Harte-
                       3 Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 688 (1989).11 And Harvey’s
                       4 assertion that “Netflix took Gadd’s story and decided to turn it into a ‘true story,’”
                       5 Opp. at 12, is alleged nowhere in the Complaint. She cannot now attempt to rewrite
                       6 her Complaint through her opposition to belatedly attempt to manufacture non-
                       7 existent allegations of actual malice.
                       8         B.    Harvey’s Remaining Claims Are Duplicative.
                       9         Harvey has no substantive response to Netflix’s assertion that every allegation
                  10 in her Complaint is connected to and made in support of her defamation claim. Nor
                  11 does she address or attempt to distinguish any of Netflix’s authority. She concedes
                  12 IIED claims can be duplicative. She then asserts, without any authority, that hers is
                  13 not because it references “false, unconfirmed and explosive allegations,” which are,
                  14 of course, the same allegations in her duplicative defamation claim. Opp. at 12.
                  15 Next, she attempts to distinguish her negligence claim by asserting it is based on
                  16 Netflix’s failure to conceal her identity, id., but identification is a key element of
                  17 defamation and her Complaint alleges Netflix breached a duty of care “by lying
                  18 repeatedly about Harvey in Baby Reindeer,” after which she then recites the alleged
                  19 defamatory statements. Compl. ¶ 106.12 And her right of publicity claim, arises
                  20 from the same “nucleus of facts.” Baez v. Pension Consulting All., Inc., 2017 WL
                  21 9500979, at *5 (C.D. Cal. July 20, 2017).13 Harvey’s fabricated distinctions between
                  22 these claims and her defamation claim are meritless.
                  23
                  24
                  25       11
                        Khawar v. Globe Intern. Inc., 19 Cal.4th 254, 275 (1998) is inapposite because
                     Harvey
                  26 12      does not allege “republication of a third party’s defamatory falsehoods.” Id.
                        Harvey’s reliance on Winter v. G.P. Putnam’s Sons, 938 F.2d 1033, 1037 n.9 (9th
                  27 Cir. 1991) is unavailing because plaintiff there did not bring a defamation claim.
                     13
                        Sears v. Russell Road Food and Beverage LLC is inapposite because it applies
                  28 Nevada  law. 460 F. Supp. 3d 1065, 1072 (D. Nev. 2020).
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                       1        C.     Harvey’s IIED Claim Independently Fails.
                       2        Harvey fails to sufficiently allege outrageous conduct. Her opposition makes
                       3 no attempt to distinguish McClintock v. West, 219 Cal. App. 4th 540, 556 (2013),
                       4 where the court held “accusing a person of stalking” and “stating that one is afraid
                       5 of [her]” is not “extreme and outrageous” conduct. Id. Nor does she respond to
                       6 Netflix’s argument that the disclaimers reinforce the reasonableness of Netflix’s
                       7 conduct. She instead relies solely on Belen v. Ryan Seacrest Prods., LLC, which
                       8 involved the “outrageous” conduct of a defendant displaying someone’s breasts on
                       9 public television while she was in a private dressing room, 65 Cal. App. 5th 1145,
                  10 1164 (2021), and Ely v. Wal*Mart, Inc., where plaintiff alleged defendant contacted
                  11 her new employer and lied about her. 875 F. Supp. 1422, 1424 (C.D. Cal. 1995);
                  12 Opp. at 13. Neither case involves accusations of stalking nor expressing fear.
                  13 Regardless, Harvey does not even specifically allege what constitutes the supposedly
                  14 outrageous conduct here, which is fatal. See Lias v. Cnty. of Alameda, Off. of Cnty.
                  15 Couns., 2005 WL 8177657, at *4 (N.D. Cal. June 8, 2005). Her opposition cites to
                  16 alleged statements to Parliament (which Harvey cannot rely on, see supra at 4 n. 4)
                  17 and to Paragraphs 91 and 109 of her Complaint, which consist of the alleged
                  18 defamatory statements in the Series regarding stalking and the Series’ viewership,
                  19 as the purported “outrageous” conduct.             Yet, these are precisely the types of
                  20 allegations that McClintock establishes are not “outrageous.” 219 Cal. App. 4th at
                  21 556.
                  22            Additionally, Harvey also fails to plausibly allege that Netflix’s supposedly
                  23 outrageous conduct was the actual and proximate cause of her emotional distress.
                  24 Her assertion that certain viewers and the press may have thought she might be
                  25 Martha and thus she was afraid to go outside or read the news, (Opp. at 13-14), is
                  26 contradicted by the fact that she decided to subsequently leave her home and become
                  27 the news, by sitting down with Piers Morgan for an interview where she affirmatively
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                       1 identified herself as Martha, which has since been viewed 14 million times. Putnam
                       2 Decl., Ex. A. Harvey offers no explanation for her actions because she cannot.
                       3        D.     Harvey’s Negligence and Gross Negligence Claims Also Fail.
                       4        Harvey’s effort to repackage her defamation claim as a negligence claim
                       5 violates established legal principles. Other than citing misleading dicta, Harvey has
                       6 no response to Netflix’s authority establishing that streamers owe no duty to confirm
                       7 or ensure the accuracy of works they stream separate from the duty not to defame—
                       8 which is of course encompassed by her infirm defamation claim. Mot. at 13-14;
                       9 Schering Corp. v. First Databank Inc., 2007 WL 1068206, at *7 (N.D. Cal. Apr. 10,
                  10 2007). Harvey cites only one case, Winter, to ostensibly support her negligence
                  11 theory, yet the Ninth Circuit there explicitly foreclosed Harvey’s theory in
                  12 dismissing plaintiffs’ negligence claim. 938 F.2d at 1037 (“Were we tempted to
                  13 create this duty, the gentle tug of the First Amendment and the values embodied
                  14 therein would remind us of the social costs.”). Harvey misrepresents the court’s
                  15 dicta in which the court simply suggested a defamation claim would have been
                  16 stronger. 938 F.2d at 1037 n.9.14 She also fails to provide any response to Netflix’s
                  17 authority establishing that California courts have declined to find a duty for claims
                  18 implicating expression, Mot. at 14, and does not dispute that the Series is an
                  19 expressive work. Aside from merely citing to allegations in her Complaint, she
                  20 likewise does not substantively respond to Netflix’s arguments that she failed to
                  21 adequately allege breach given the reasonable viewer standard nor proximate cause
                  22 given her interview with Piers Morgan and waives any contrary argument.15
                  23
                  24
                  25
                        Harvey’s reliance on Bindrim v. Mitchell, 92 Cal. App. 3d 61, 73 (1979), and
                           14
                  26 Masson v. New Yorker Magazine, Inc., 960 F.2d 896, 901 (9th Cir. 1992), Opp. at
                     15, only confirms her claim fails—these cases each address defamation, not
                  27 negligence. Id.
                     15
                        Harvey’s citation to Belen, 65 Cal. App. 5th at 1163 is irrelevant given it does not
                  28 address breach or causation.
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                       1         E.    Harvey’s Right of Publicity Claims Also Fail.
                       2         Harvey’s right of publicity claim is barred because the Series is an expressive
                       3 work subject to First Amendment protection. See Daly v. Viacom, Inc., 238 F. Supp.
                       4 2d 1118, 1123 (N.D. Cal. 2002). Harvey does not dispute that the Series is an
                       5 expressive work and therefore waives that argument. Yagman, 2021 WL 6804219,
                       6 at *2. Harvey instead relies entirely on Time, Inc. v. Hill, 385 U.S. 374 (1967) for
                       7 the proposition that “Netflix’s calculated falsehood with respect to Harvey’s identity
                       8 to gain more subscribers does not enjoy first amendment immunity.” Opp. at 17.
                       9 Contrary to Harvey’s representation to the Court, id., however, Time, Inc. is a case
                  10 about New York’s right of privacy statute and thus has no relevance here. While
                  11 Harvey cites Downing v. Abercrombie & Fitch, 265 F.3d 994, 1001 (9th Cir. 2001)
                  12 and Comedy III Productions, Inc. v. Gary Saderup, Inc., 25 Cal.4th 387 (2001), for
                  13 the proposition that the First Amendment’s bar is not absolute, Opp. at 17, she does
                  14 not argue that those cases are analogous. Indeed, they are not. Each concerns
                  15 commercial products, id., which is very different than a streaming series employing
                  16 creative elements that contributes to the public interest and addresses issues of public
                  17 concern. Mot. at 3-5, 7-9.
                  18             Harvey’s claims also fail for two additional and independent reasons. First,
                  19 Harvey does not plausibly allege that Netflix used Harvey’s identity. Her attempt to
                  20 distinguish Polydoros v. Twentieth Century Fox Film Corp., 67 Cal. App. 4th 318,
                  21 325 (1997) by asserting “the character in the work of fiction was plainly not the
                  22 plaintiff,” Opp. at 17, is circular—the Series is also a fictionalized work and Harvey
                  23 plainly is not Martha.16 Second, Harvey’s only response to Netflix’s argument—
                  24 that she failed to adequately allege that the appropriation of her name or identity was
                  25
                     16
                        Harvey’s authority is inapposite. It involves unique and immediately recognizable
                  26 features  as opposed to the general characteristics that Harvey references (age,
                     nationality,
                  27 anyone would profession, accent) and the use of a phrase that she does not allege
                                     have immediately recognized. See Motschenbacher v. R. J. Reynolds
                     Tobacco   Co., 498 F.2d 821, 827 (9th Cir. 1974); Kirby v. Sega of America, Inc., 144
                  28 Cal. App. 4th 47 (2006).
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                       1 somehow to Netflix’s advantage commercially or otherwise—is to cite Paragraph 1
                       2 of her Complaint, which contains no such allegation.17
                       3            F.     Harvey Failed to Allege Punitive Damages.
                       4            Harvey does not dispute that she fails to adequately allege punitive damages,
                       5 Opp. at 18, and she thus waives that argument. Yagman, 2021 WL 6804219, at *2.
                       6 Her only argument, that Netflix should have filed a motion to strike instead of a
                       7 motion to dismiss, is wrong and contradicts this Court’s recent guidance. Gomez v.
                       8 Cnty. of Los Angeles, 2023 WL 3431279, at *1 n.1 (C.D. Cal. Mar. 17, 2023)
                       9 (Klausner, J.) (Defendant “moves to strike Plaintiff’s prayer for punitive damages
                  10 because of insufficient factual allegations under [Rule] 12(f). ‘The proper medium
                  11 for challenging the sufficiency of factual allegations in a complaint is through Rule
                  12 12(b)(6), not Rule 12(f).’”) (citation omitted). Netflix’s motion is proper, Harvey
                  13 waived any other argument, and dismissal of Harvey’s demand for punitive damages
                  14 is warranted.
                  15 III.           CONCLUSION.
                  16                For the foregoing reasons and those in the Motion, Netflix respectfully
                  17 requests that the Court dismiss all of Harvey’s claims for failure to state a claim.
                  18
                  19 Dated: September 4, 2024                                 Respectfully submitted,
                  20                                                     LATHAM & WATKINS LLP
                                                                           Marvin S. Putnam
                  21
                                                                         By /s/ Marvin S. Putnam
                  22                                                       Marvin S. Putnam
                                                                           Attorneys for Defendants
                  23                                                       Netflix, Inc., and Netflix Worldwide
                  24                                                       Entertainment, LLC
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                  26
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                  28       17
                                Her claim also fails because she fails to allege any current value to her identity.
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ATTOR NEY S A T LA W
  CENT URY CI TY                                                              DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                         MOTION TO DISMISS COMPLAINT
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                   1                        CERTIFICATE OF COMPLIANCE
                   2        The undersigned, counsel of record for Defendants Netflix, Inc., and Netflix
                   3 Worldwide Entertainment, LLC, certifies that this brief contains 10 pages and 3,400
                   4 words, which complies with Local Rule 11-6.1 and the page limit set by Court order
                   5 dated June 7, 2024.
                   6
                   7 Dated: September 4, 2024                By: /s/ Marvin S. Putnam
                                                                    Marvin S. Putnam
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ATTORNEYS AT LAW
  CENTURY CITY
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